USDC IN/ND case 3:11-cr-00078-JD-MGG               document 204        filed 06/27/12     page 1 of 1

                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
        v.                                     )      Case No. 3:11-CR-078 JD
                                               )
 SHAYLA MONTAGUE                               )

                                              ORDER

        No objections have been filed to the magistrate judge’s findings and recommendation upon

 a plea of guilty issued on February 10, 2012 [DE 103]. The court notes, however, that the report and

 recommendation incorrectly refers to a violation of 21 U.S.C. § 841(a)(1) rather than the statute of

 indictment, 21 U.S.C. § 846. Accordingly, the court now ADOPTS those findings and

 recommendations as modified, ACCEPTS defendant Shayla Montague’s plea of guilty, and FINDS

 the defendant guilty of Count 1 of the Indictment, in violation of 21 U.S.C. § 846.

        SO ORDERED.

        ENTERED:        June 27, 2012



                                                     /s/ JON E. DEGUILIO
                                               Judge
                                               United States District Court
